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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DANTE BURTON, )
) CIVIL ACTION NO. 2:17-cv-895
Plaintiff, )
) JUDGE KIM R. GIBSON
v )
)
WILLIAM SCHAMFP et al., )
)
Defendants. )
MEMORANDUM ORDER

 

This matter is before Magistrate Judge Keith A. Pesto for proceedings in accordance with
the Magistrates Act, 28 U.S.C. § 636 and Local Civil Rule 72.

On July 5, 2017, Dante Burton (“Plaintiff”) filed a motion to proceed in forma pauperis
(“IFP”), along with a complaint against seven employees of the Pennsylvania Department of
Corrections (“Defendants”). (ECF No. 1). In this complaint, Plaintiff alleges that Defendants
violated his First Amendment rights by cutting short his allotted time for accessing the prison
law library in retaliation for a grievance Plaintiff had filed against corrections officers. (Id. at 4—
7).

On July 10, 2017, Magistrate Judge Pesto denied Plaintiff's motion to proceed IFP and
dismissed Plaintiff's complaint for failing to state a claim upon which relief could be granted.
(ECF No. 3). On August 7, 2017, Plaintiff filed a notice of appeal and an inmate account statement.
(ECF No. 4). On the same day, Magistrate Judge Pesto granted Plaintiff's IFP motion. (ECF No.
7). On December 19, 2017, the United States Court of Appeals for the Third Circuit vacated

Magistrate Judge Pesto’s dismissal of Plaintiff's IFP motion, directing the Magistrate Judge to
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conduct the appropriate IFP analysis. See Burton v. Schamp, 707 Fed.Appx. 754, 755 (3d Cir. 2017)
(See also ECF No. 14 at 3-4).

On January 10, 2018, Magistrate Judge Pesto restated his earlier decision to grant
Plaintiffs motion to proceed IFP and again dismissed Plaintiff's complaint. (ECF No. 17 at 1).
On February 10, 2022, the United States Court of Appeals for the Third Circuit again vacated the
dismissal—this time holding that the Magistrate Judges Act requires Magistrate Judges to issue
Report and Recommendations (“R&R”) to the District Court in plaintiff-only consent cases such
as this one. See Burton v. Schamp, 25 F Ath 198, 212 (3d Cir. 2022). (See also ECF No. 57-1 at 25-26).

On February 28, 2022, Magistrate Judge Pesto filed an R&R recommending that this Court
dismiss Plaintiff's complaint for failure to state a claim based on the reasoning the Magistrate
Judge laid out in his July 2017 order. (ECF No. 58 at 2). In the R&R, Magistrate Judge Pesto also
notified Plaintiff that any written objections to the R&R must be submitted within fourteen days
of receiving the R&R. (Id. at 2-3) (citing 28 U.S.C. § 636(b)(1)). Given that Plaintiff is an
unregistered ECF user, Plaintiff instead had seventeen days to submit objections (making his due
date March 17, 2022). On March 15, 2022, Plaintiff timely mailed written objections to Magistrate
Judge Pesto’s R&R. (ECF No. 60-1).

The Court has reviewed de novo Magistrate Judge Pesto’s R&R. After de novo review of

the record and the R&R, the following order is entered:

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AND NOW, this -&" day of September, 2022, the Court partially adopts the R&R as the
opinion of this Court. Specifically, the Court adopts solely the R&R’s conclusion that the
Defendant failed to state a retaliation claim because the conduct alleged is not sufficient “to deter

a person of ordinary firmness from exercising his [constitutional] rights[.]” Mitchell v. Horn, 318
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F.3d 523, 530 (3d Cir. 2003).! It is HEREBY ORDERED that Plaintiff's claim of retaliation against

the Defendants is DISMISSED WITH PREJUDICE.

 

BY THE COURT:

   

 

KIM R. GIBSON

UNITED STATES DISTRICT JUDGE

1 Magistrate Judge Pesto reached and explained this conclusion in his July 10, 2017 order. (See ECF No. 3
at 5-6). This order informed the Magistrate Judge’s recommendation in the R&R. (See ECF No. 58 at 2)
(“On the merits, nothing has changed in the state of the law since my original examination of the

complaint in July 2017.”).
